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                                                       UNITED STATES DISTRICT COURT
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                                                            DISTRICT OF NEVADA
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                                                                         2:07-CR-170 JCM (LRL)
                  8       UNITED STATES OF AMERICA,

                  9                       Plaintiff,
                                                                         Date:           N/A
                10                                                       Time:           N/A
                          v.
                11
                          CHEN CHIANG LIU, et al.,
                12
                                          Defendants.
                13
                14                                                    ORDER
                15             Presently before the court are the report and recommendation of United States Magistrate
                16      Judge Lawrence R. Leavitt (Doc. #115), filed on August 5, 2008. Defendant Chen Chiang Liu
                17      objected to the report and recommendation on August 20, 2008. (Docs. #118, #119; see also #126).
                18      The United States filed a response to the objection on September 2, 2008. (Doc. #122). As of
                19      September 4, 2008, defendant Min Li Liu has not filed any objections to the report and
                20      recommendation.
                21             Chen Chiang Liu’s objections are based on his belief that the conspiracy charge in this case
                22      (count 1) is merely an extension of a conspiracy charge filed against him in the United States District
                23      Court for the Central District of California in 2005. That indictment was dismissed at the
                24      government’s request on March 31, 2008. (Doc. #92, Ex. 4). A district of Nevada grand jury later
                25      indicted both Chen Chiang Liu and Min Li Liu on one count of conspiracy and one count of passing,
                26      possessing, and concealing counterfeit securities. (Doc. #13). That indictment was superseded
                27      twice. (Docs. #53, #79).
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U.S. District Judge
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                  1             On April 29, 2008, defendant Chen Chiang Liu filed a motion to dismiss the conspiracy
                  2     charge (count 1) of the second superseding indictment based on speedy trial grounds. (Docs. #91,
                  3     #92). Defendant Min Li Liu also filed a motion seeking to dismiss count 1 of the second superseding
                  4     indictment alleging a violation of the Speedy Trial Act and improper pre-indictment delay. (Doc.
                  5     #93). These motions were referred to Judge Leavitt pursuant to 28 U.S.C. § 636(b)(1)(B) and LR
                  6     IB 1-4. After a review of the filings, Judge Leavitt determined that “the speedy trial clock in the Las
                  7     Vegas case has not expired and will not expire before trial is scheduled to begin [on September 8,
                  8     2008].” (Doc. #115 at 12). Judge Leavitt also determined that based on the complicated facts of this
                  9     case, the delay in filing the second superseding indictment “[did] not suggest improper motive on
                10      the part of the government,” nor did it substantially prejudice the defendants. (Doc. #115 at 13).
                11              Now, in keeping with 28 U.S.C. § 636(b)(1)© and LR IB 3-2(b), this court must conduct a
                12      de novo review of those portions of the report and recommendation to which the defendants have
                13      objected. Defendant Chen Chiang Liu objects only to Judge Leavitt’s findings and recommendation
                14      regarding the application of 18 U.S.C. 3161, also know as the Speedy Trial Act. The act provides
                15      in pertinent part:
                16              In any case in which a plea of not guilty is entered, the trial of a defendant charged
                                in an information or indictment with the commission of an offense shall commence
                17              within seventy days from the filing date (and making public) of the information or
                                indictment, or from the date the defendant has appeared before a judicial officer of
                18              the court in which such charge is pending, whichever date last occurs.
                19      18 U.S.C. 3161(c)(1).
                20              To determine if the Act has been violated, this court must first ascertain when the seventy
                21      day clock began running. See United States v. King, 483 F.3d 969, 972 (2007). It is clear that if this
                22      court were concerned only with the time line in the Nevada case (2:07-cr-170-JCM), there would be
                23      no speedy trial issue. An indictment containing 2 counts was issued against the defendants in
                24      Nevada on August 1, 2007; 9 days later the defendants were arraigned on those charges. Therefore,
                25      the speedy trial clock began to run in this case on August 11, 2007. That clock continued running
                26      until September 24. Thus, 31 days (August 11, 2007- September 23, 2007) passed before the clock
                27      was stopped by the parties. The parties then stipulated to a continuance which excluded the period
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U.S. District Judge                                                      -2-
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                  1     between September 24 and December 17 from the speedy trial calculations. (Doc. # 35). The parties
                  2     later stipulated to a continuance and agreed to exclude the time between December 18, 2007, and
                  3     January 28, 2008, from their speedy trial calculations. (Docs. #60, #63). A jury trial began on
                  4     January 28, 2008, and a mistrial was declared the same day. (Doc. #72). The parties agreed to a new
                  5     trial date of May 19, 2007, with the intervening time again being excluded from speedy trial
                  6     determinations. (Docs. #76, #78). And finally, the parties agreed to move the trial from May 20,
                  7     2008, to September 8, 2008, with the intervening dates once again being excluded from the speedy
                  8     trial time line. (Docs. #107, 108).
                  9             Based on the numerous stipulations to continue between the parties, which resulted in only
                10      31 days being charged to the government for speedy trial purposes, Judge Leavitt correctly
                11      determined that the speedy trial time period has not expired in the Las Vegas case. It is only if this
                12      court considers the charges against Chen Chiang Liu in California that the speedy trial time table
                13      could become an issue. The previous case originated on August 17, 2005, when Chen Chiang Liu
                14      was indicted in the United States District Court for the Central District of California. As noted
                15      above, the charges in that case were dismissed in March of this year. The government then brought
                16      charges against both Chen Chiang Liu and Min Li Liu in the district of Nevada.
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                                When the government dismisses an indictment and brings a new indictment for the same
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                        offense or any offense required to be joined with the original offense, the speedy trial clock is tolled,
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                        not reset. See 18 U.S.C. § 3161(h)(6); United States v. Magana-Olvera, 917 F.2d 401, 405 (9th
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                        Cir.1990) (“If the first indictment is dismissed on the government’s motion, the statutory time limit
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                        is merely suspended until a new indictment is returned; the 70-day clock is not reset.”) (emphasis
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                        in original). However, when the new indictment raises new or distinct offenses, the speedy trial time
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                        starts to run with the new indictment. Likewise, when the government adds a co-defendant to the
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                        indictment, the speedy trial clock is reset. King, 483 F.3d at 973 (relying on United States v.
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                        Henderson, 476 U.S. 321, 323 n.2 (1986) which notes that “[a]ll defendants who are joined for trial
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                        generally fall within the speedy trial computation of the latest codefendant”).
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U.S. District Judge                                                       -3-
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                  1            Count 1 of the indictment in this case charges a new and distinct offense from the one
                  2     charged in the California case. Although defendant Chen Chiang Liu was charged with conspiracy
                  3     in both cases, the conspiracy alleged in this case is broader in scope, includes more defendants,
                  4     covers a larger time period, and alleges violations of different statutes than the one alleged in the
                  5     2005 California case. Thus, Judge Leavitt correctly applied the five-factor test outlined in Arnold
                  6     v. United States, 336 F.2d 347, 350 (9th Cir. 1964), to determine that the conspiracy alleged in count
                  7     1 of this case is a separate offense from the one charged in the California case.
                  8            Accordingly,
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                               IT IS HEREBY ORDERED, ADJUDGED AND DECREED that United States Magistrate
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                        Judge Leavitt’s report and recommendation (Doc. #115) are AFFIRMED in their entirety.
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                               IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that the defendant’s objections
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                        (Docs. #118 and #119) to United States Magistrate Leavitt’s report and recommendations (#115),
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                        be and the same hereby are, DENIED.
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                15             DATED this 5th day of September, 2008.

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                18                                             UNITED STATES DISTRICT JUDGE

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U.S. District Judge                                                     -4-
